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7                         UNITED STATES DISTRICT COURT

8                       WESTERN DISTRICT OF WASHINGTON
                                  AT TACOMA
9

10    NATHEN BARTON
                                                 CASE NO.
11                                               ________________________
                               Plaintiff,
      VS.
12                                               JUDGE
                                                 __________________________
      SOPI FINANCIAL, LLC, TOP
13
      HEALTHCARE SOLUTIONS, LLC,
                                                 MAGISTRATE JUDGE
      ADROIT HEALTH GROUP, LLC, AND
14
      JOHN DOE 1-10                              ___________

15
                            Defendants.
16

17
                                     NOTICE OF REMOVAL
18
            Defendant Adroit Health Group, LLC (“Adroit”) hereby gives notice and
19
     removes this action from the Clark County District Court for the State of
20
     Washington, pursuant to 28 U.S.C. §1441 and §1446, and based on the Court’s
21
     jurisdiction under 28 U.S.C. §1331. In support of this removal, and reserving all
22
     rights, objections, defenses and motions, Adroit asserts the following:
23

24
                                                              SIDERIUS LONERGAN & MARTIN LLP
                                                                     ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 1                                           500 UNION STREET
                                                                          SUITE 847
                                                                SEATTLE, WASHINGTON 98101
                                                                        206/624-2800
                                                                     Fax: 206/624-2805
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1                                              1.

2           On November 22, 2021, plaintiff Nathen Barton (“Barton” or “Plaintiff”)

3    filed his Original Complaint for a Civil Case and Injunctive Relief (“State Court

4    Complaint”) in the matter entitled “Nathen Barton v. Sopi Financial, LLC, Top

5    Healthcare Solutions, LLC, Adroit Health Group, LLC, and John Doe 1-10,” No.

6    21C5747-6, In the District Court of State of Washington, Clark County.
7                                              2.
8           Adroit has attached a copy of Barton’s state court complaint (the “State
9    Court Complaint”) as Exhibit “1” to this notice. In addition, Adroit has attached
10
     copies of the entire state court record at the time of the removal, as Exhibit “2” (in
11
     globo) to this notice.
12
                                     Removal Jurisdiction
13
                                               3.
14
            This Court has jurisdiction over this removed action pursuant to 28 U.S.C.
15
     §1331 because the State Court Complaint asserts violations of the federal
16
     Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227, et seq., and the
17
     federal Racketeer Influenced and Corrupt Influences Act (“RICO”), 28 U.S.C.
18
     §1961, et seq.   The State Court Complaint also asserts claims under Washington
19
     state law (RCW 19.158.050, RCW 19.158, RCW 80.36.390(2), RCW 80.36.390(3),
20
     RCW 80.36.400).
21

22

23

24
                                                              SIDERIUS LONERGAN & MARTIN LLP
                                                                     ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 2                                           500 UNION STREET
                                                                          SUITE 847
                                                                SEATTLE, WASHINGTON 98101
                                                                        206/624-2800
                                                                     Fax: 206/624-2805
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1                                           Venue

2                                             4.

3          The State Court Complaint alleges that Barton is a resident of Clark

4    County, Washington, and that all of “the acts alleged in this complaint occurred in

5    Clark County, Washington State.” See State Court Complaint, Section III, p. 3.

6    Consequently, venue is proper in this case pursuant to 28 U.S.C. §1391(b) because

7    a substantial part of the events giving rise to the claims allege claims arise in the
8    Western District of Washington.
9                             Background Events and Information
10
                                              5.
11         Adroit provides certain types of cost-effective insurance products, including
12
     medical insurance, prescription drug benefit plans, dental and vision insurance,
13
     supplemental insurance plans, term-life insurance and disability insurance.
14
                                              6.
15
           In the State Court Complaint, Barton alleges that Adroit and the other
16
     Defendants violated the provisions of the TCPA and Washington state law by
17
     placing unsolicited telephone calls to him, seeking to sell him health care
18
     insurance.   The State Court Complaint alleges that Adroit and the other
19
     Defendants made twenty-three unsolicited and illegal phone calls to him.
20
                                              7.
21
           The State Court Complaint alleges the telephone calls from the Defendants
22
     took place between May 3, 2021 and October 20, 2021.
23

24
                                                             SIDERIUS LONERGAN & MARTIN LLP
                                                                    ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 3                                          500 UNION STREET
                                                                         SUITE 847
                                                               SEATTLE, WASHINGTON 98101
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1                                                8.

2              The State Court Complaint alleges that each of these unsolicited and illegal

3    phone calls, along with the collective conduct of the Defendants, amounted to

4    violations of the TCPA, RICO, and Washington state law, allowing Barton to

5    recover damages (including treble damages), attorney’s fees, as well as injunctive

6    relief.
7                           Timeliness of Removal and Consent By United
8                                                9.
9              Generally, under 28 U.S.C. §1446, a notice of removal must be filed within
10   30 days of receipt by the defendant, by service or otherwise, of the initial pleading
11
     setting forth the claim for relief. See 28 U.S.C. §1446(b)(1).
12
                                                10.
13
               Adroit was served with (and first received) the State Court Complaint
14
     through its agent for service of process on November 30, 2021.
15
                                                11.
16
               Because this notice of removal is being filed within 30 days of when Adroit
17
     was served with the State Court Complaint, as well as within 30 days of when
18
     each of the other defendants was served, the removal notice is timely.
19
                                Compliance with Removal Procedure
20
                                                12.
21
               Pursuant to 28 U.S.C. §1446(d), promptly after filing this notice of removal,
22
     Adroit will serve a copy of this notice on Barton and will promptly file a copy of
23

24
                                                                SIDERIUS LONERGAN & MARTIN LLP
                                                                       ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 4                                             500 UNION STREET
                                                                            SUITE 847
                                                                  SEATTLE, WASHINGTON 98101
                                                                          206/624-2800
                                                                       Fax: 206/624-2805
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1    this notice with the Clerk of Court for the Clark County District Court, Clark

2    County Washington.

3                                     Reservation of Rights

4                                             13.

5          Adroit expressly reserves all rights, defenses, objections and motions that it

6    could have raised in response to the State Court Complaint when filed.

7

8                                            Respectfully submitted,
9
                                             SIDERIUS LONERGAN & MARTIN,
                                             LLP
10

11                                            s/   Michael Siderius
                                             Michael Siderius, WSBA #25510
12                                           500 Union Street, Suite 847
                                             Seattle, WA 98101
13                                           Telephone: (206) 624-2800
                                             Facsimile: 206/624-2805
14                                           Email: michaels@sidlon.com

15                                           Attorney for Defendant Adroit Health
                                             Group, LLC
16

17                              CERTIFICATE OF SERVICE

18         I hereby certify under penalty of perjury under the laws of the State of

19   Washington, that on December 29, 2021, I electronically filed the foregoing with

20   the Clerk of the Court using the CM/ECF system which will send notification of

21   such filing to the following:
22                Nathen Barton
                  4618 NW 11th Cir.
23
                  Camas, WA 98607
24
                                                              SIDERIUS LONERGAN & MARTIN LLP
                                                                     ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 5                                           500 UNION STREET
                                                                          SUITE 847
                                                                SEATTLE, WASHINGTON 98101
                                                                        206/624-2800
                                                                     Fax: 206/624-2805
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1              Sopi Financial, LLC
               c/o Flamur Sopi, Registered Agent
2              9506 SW 1st Court
               Coral Springs, FL 33071
3
               Top Healthcare Solutions, LLC
4              c/o John A. Mahaney, IV, Registered Agent
               600 Fairway Drive, Suite 108
5              Deerfield, FL 33441

6         DATED this 29th day of December, 2021.

7                                /s/ Michael Siderius
                                   Michael Siderius
8

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                                                        SIDERIUS LONERGAN & MARTIN LLP
                                                               ATTORNEYS AT LAW
25   NOTICE OF REMOVAL – 6                                     500 UNION STREET
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